1:19-cv-01388-SLD-JEH # 31-12   Filed: 12/23/20   Page 1 of 4
                                                                          E-FILED
                                       Wednesday, 23 December, 2020 06:51:23 PM
                                                     Clerk, U.S. District Court, ILCD




          EXHIBIT K
12/21/2020                 1:19-cv-01388-SLD-JEH # 31-12
                                                    Elasticity, Filed:   12/23/20
                                                                Elastic Properties    Page 2 of 4

                                                                                                        Index
                               Bulk Elastic Properties
                                                                                                       Periodic
   The bulk elastic properties of a material determine how much it will compress under a given          motion
   amount of external pressure. The ratio of the change in pressure to the fractional volume           concepts
   compression is called the bulk modulus of the material.
   A representative value for the
   bulk modulus for steel is




    and that for water is




    The reciprocal of the bulk
    modulus is called the
    compressibility of the substance.
    The amount of compression of
    solids and liquids is seen to be
    very small.

   The bulk modulus of a solid influences the speed of sound and other mechanical waves in
   the material. It also is a factor in the amount of energy stored in solid material in the Earth's
   crust. This buildup of elastic energy can be released violently in an earthquake, so knowing
   bulk moduli for the Earth's crust materials is an important part of the study of earthquakes.
   The bulk modulus is a factor in the speed of seismic waves from earthquakes.

   A common statement is that water is an incompressible fluid. This is not strictly true, as
   indicated by its finite bulk modulus, but the amount of compression is very small. At the
   bottom of the Pacific Ocean at a depth of about 4000 meters, the pressure is about 4 x 107
   N/m2. Even under this enormous pressure, the fractional volume compression is only about
   1.8% and that for steel would be only about 0.025%. So it is fair to say that water is nearly
   incompressible. Reference: Halliday, Resnick, Walker, 5th Ed. Extended.

   John Hermance points out that for a more accurate picture of the compressibility of water,
   the temperature should be taken into account. The reason the 1.8% compression can be
   quoted above is that the compressibility of the water at 20°C at the surface is about the same
   as the compressibility at 4000m depth if the temperature at the bottom is 5°C. The
   compressibility at that pressure and depth has a higher value because of the colder
   temperature than it would have had at 20°C. Using the detailed compressibility data for
   water from the Fine & Millero compilation, it can be seen that if the bottom temperature
   were 5°C the compression would be about 1.82%, but if it were 20°C the amount of
   compression would be about 1.66%.

                          Temperature Pressure Compressibility % Compression
                             °C         Atm      per Mbar        at 400 bars
                               20°C                0   45.895            ...
                               5°C             400     45.498         1.82%
hyperphysics.phy-astr.gsu.edu/hbase/permot3.html                                                                  1/3
12/21/2020                 1:19-cv-01388-SLD-JEH # 31-12
                                                    Elasticity, Filed:   12/23/20
                                                                Elastic Properties         Page 3 of 4
                               20°C            400       41.492           1.66%

   Another way to state it is that if the bottom temperature is 5°C the compressibility would
   decrease by only 0.9% from surface to depth, whereas if the bottom temperature were also
   20°C, the compressibility would decrease by about 9.6%.

   Hermance's interest in this detailed compressibility picture comes from the application to the
   compressibility of groundwater in the Earth's subsurface. This groundwater could be at a
   higher temperature, and the change in compressibility is of considerable importance in the
   understanding of the storage and release of groundwater from cracks and pores in the rock,
   as well as the effects of hydrofracturing, earthquakes, etc., in the Earth's upper crust.


                                             Compressibility of Liquids

   Reference: Fine, R. A. and Millero, F. J., 1973. "Compressibility of water as a function of
   temperature and pressure", Journal of Chemical Physics 59(10):5529-5536. doi:
   10.1063/1.1679903.

                                                                                                         Go Back
    HyperPhysics***** Mechanics                                                   R Nave




                                                                                                           Index
                                       Young's Modulus
                                                                                                         Periodic
   For the description of the elastic properties of linear objects like wires, rods, columns which        motion
   are either stretched or compressed, a convenient parameter is the ratio of the stress to the          concepts
   strain, a parameter called the Young's modulus of the material. Young's modulus can be used
   to predict the elongation or compression of an object as long as the stress is less than the
   yield strength of the material.




                             Elastic Properties of Selected Engineering Materials
                            Density Young's Modulus Ultimate Strength Su Yield Strength Sy
             Material
                            (kg/m3)      109 N/m2             106 N/m2            106 N/m2
               Steela         7860                 200             400                 250
hyperphysics.phy-astr.gsu.edu/hbase/permot3.html                                                                    2/3
12/21/2020           1:19-cv-01388-SLD-JEH # 31-12
                                              Elasticity, Filed:   12/23/20 Page 4 of 4
                                                          Elastic Properties

             Aluminum 2710         70              110                       95
               Glass          2190                 65        50b                     ...
             Concretec        2320                 30        40b                     ...

               Woodd           525                 13        50b                     ...
                Bone          1900                 9b        170b                    ...
             Polystyrene      1050                 3          48                     ...

             a Structural steel (ASTM-A36), b In compression, c High strength, d Douglas fir
                   Data from Table 13-1, Halliday, Resnick, Walker, 5th Ed. Extended.

                                                                                               Go Back
    HyperPhysics***** Mechanics                                             R Nave




hyperphysics.phy-astr.gsu.edu/hbase/permot3.html                                                         3/3
